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                                                                                        April 23, 2024
  VIA ECF
  The Hon. Joseph A. Marutollo, U.S.M.J.
  U.S. District Court, Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, NY 11201
                       Re:     Oyenuga v. Presidential Security Services LLC et al
                               Case No.: 1:22-cv-04972-DG-RER

Dear Honorable Magistrate Judge Marutollo:

         This law firm represents Plaintiffs Oludare Oyenuga and Janiya Preston (together, the
 “Plaintiffs”) in the above referenced matter.

          Pursuant to Your Honor’s Individual Motion Rules, this letter respectfully serves to
  request an extension of time: (i) to serve Individual Defendant Ismail Qadar (the “Individual
  Defendant”); and (ii) to file a letter motion for alternative service on the Individual Defendant,
  to, through and including, May 17, 2024.

         This is the first request of its kind. If granted, this request would not affect any other
  Court scheduled deadlines.

          The basis of this request is that Plaintiffs wish to exhaust their efforts to serve the
  Individual Defendant, before renewing their application to serve the Individual Defendant via
  alternative means.

          In light of the foregoing, it is respectfully requested that the Court grant an extension of
  time: (i) to serve Individual Defendant Ismail Qadar (the “Individual Defendant”); and (ii) to
  file a letter motion for alternative service on the Individual Defendant, to, through and
  including, May 17, 2024.

                                                            Respectfully submitted,

                                                            LEVIN-EPSTEIN & ASSOCIATES, P.C.
                                                            By: /s/ Jason Mizrahi
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